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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

GLEN NEWBY                                                                 PLAINTIFF

v.                                   4:13CV00474 JM

NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA;
LOTSOLUTIONS, INC.; and
AIG CLAIMS, INC.                                                           DEFENDANTS



                                   ORDER OF DISMISSAL

       Having been notified that a settlement has been reached between the parties, the Court finds

the case should be dismissed. The Complaint and all claims against the Defendants are hereby

dismissed with prejudice.

       IT IS SO ORDERED this 11th day ofMarch, 2014.
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